                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

CHASE BARFIELD,                              )
MICHAEL D. BIFFLE, and                       )
GINA BIFFLE, for themselves and on           )
behalf of all others similarly situated,     )
                                             )       JURY TRIAL DEMANDED
                       Plaintiffs,           )
                                             )
v.                                           )       Case No. 11-4321
                                             )
SHO-ME POWER ELECTRIC                        )
COOPERATIVE, a Missouri company,             )
                                             )
SHO-ME TECHNOLOGIES, LLC,                    )
a Missouri company,                          )
                                             )
KAMO ELECTRIC COOPERATIVE,                   )
INC., an Oklahoma Company,                   )
                                             )
and                                          )
                                             )
K-POWERNET, LLC,                             )
an Oklahoma company,                         )
                                             )
                       Defendants.           )

                            CLASS ACTION COMPLAINT

       Plaintiffs Chase Barfield, Michael D. Biffle, and Gina Biffle (collectively, the

“Named Plaintiffs”) bring this class action on behalf of themselves and all other similarly

situated Missouri property owners. Defendants are Sho-Me Power Electric Cooperative

(“Sho-Me Power”), its wholly owned subsidiary Sho-Me Technologies, LLC (“Sho-Me

Tech”) (collectively “Sho-Me”), KAMO Electric Cooperative, Inc. (“KAMO Electric”),

and its wholly owned subsidiary K-PowerNet, LLC (“K-PowerNet”) (collectively

“KAMO”). Defendants sometimes do business together as Cooperatives’ Broadband

Network (“CBN”). For their cause of action, Named Plaintiffs state as follows:




      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 1 of 16
                                            PARTIES

         1.    Chase Barfield is a citizen and resident of Collier County, Florida. He

owns land in Hickory County identified as tax parcel no. 11-7-36-0-0-9-0, through which

KAMO installed and is operating a commercial fiber-optic-communications network,

independent of the transmission or distribution of electricity.

         2.    The Biffles are citizens and residents of Oregon County, Missouri. They

own land in Oregon County identified as tax parcel no. 17-7.0-26-0-000-0010.00,

through which Sho-Me illegally installed and is operating a commercial fiber-optic-

communications network, independent of the transmission or distribution of electricity.

         3.    Defendant Sho-Me Power is a Missouri company with its principal place

of business in Marshfield, Missouri.

         4.    Defendant Sho-Me Tech is a Missouri limited liability company with its

principal place of business in Marshfield, Missouri.

         5.    Defendant KAMO Electric is an Oklahoma limited liability company with

its principal place of business in Vinita, Oklahoma. KAMO Electric also does business

in western Missouri.

         6.    Defendant K-PowerNet is an Oklahoma limited liability company with its

principal place of business in Vinita, Oklahoma. K-PowerNet also does business in

western Missouri.


                             JURISDICTION AND VENUE

         7.    This Court has original jurisdiction of this class action under 28 U.S.C.

§ 1332(d)(2). Defendants KAMO Electric and K-PowerNet are Oklahoma citizens and




                                  2
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 2 of 16
Named Plaintiffs are Missouri and Florida citizens. The matter in controversy exceeds

the sum or value of $5,000,000 exclusive of interest and costs.

         8.    Venue in this Court is proper under 28 U.S.C. § 1391(a), as Defendants

KAMO Electric and K-PowerNet do business in Hickory County, Missouri.


                           CLASS-ACTION ALLEGATIONS

         9.    This class action is brought by Named Plaintiffs, on their own behalf and

on behalf of others similarly situated, under Federal Rule of Civil Procedure Rule 23.

         10.   Named Plaintiffs represent a class (the “Missouri Landowner Class” or the

“Class”) consisting of all persons who own land in Missouri underlying Defendants’

electric-transmission or distribution lines and on or in which a Defendant has installed —

or announced plans for the installation of — fiber-optic cable. Excluded from the class

are persons who own only land underlying public streets or highways. Also excluded

from the class are Defendants, all local, state, and federal governments and their

agencies, any Indian tribe, and the trial judge.

         11.   Defendants have illegally installed or used over 2,000 miles of fiber-optic

cable throughout the state on Class Members’ land that is subject only to a limited

electric-utility easement or occupancy (“Electric Easement Land”). Defendants are using

the fiber-optic cable installed on Electric Easement Land to offer commercial-

communications services as a separate business distinct from the generation,

transmission, or distribution of electricity. Defendant Sho-Me has claimed the right to

expand the installation and use of fiber-optic cable on Electric Easement Land for these

separate, non-electric purposes, and has announced future expansion plans.




                                  3
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 3 of 16
         12.    Named Plaintiffs may bring this action as representatives of the Missouri

Landowner Class because:

                (a)     As owners of Electric Easement Land they are entitled to

compensation for Defendants’ improper commercial use and occupation of their land for

purposes other than the transmission or distribution of electricity; disgorgement of the

revenues wrongfully flowing to Defendants from that improper use and occupation; and

declaratory relief;

                (b)     Their claims are typical of the claims of the other members of the

Missouri Landowner Class; and

                (c)     Named Plaintiffs will fairly and adequately represent the interests

of the Missouri Landowner Class. Named Plaintiffs have no interests adverse to the

interests of the Class, and counsel selected by Named Plaintiffs are experienced in

handling class actions and other complex commercial and consumer litigation and will

fairly and adequately represent the interests of all Class Members.

         13.    The Class Members are so numerous that joinder of all is impractical.

Although the exact number of Class Members is unknown at this time, it is estimated that

there are not less than 3,000.

         14.    There are questions of fact common to the Class, and those questions

predominate over questions affecting any individual Class Members. Common questions

of fact include but are not limited to:

               a. Whether Defendants adopted policies, procedures, or a pattern or

                  practice to install and operate fiber-optic cable, for commercial-




                                  4
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 4 of 16
        communications purposes, on Electric Easement Land, without seeking

        or obtaining Class Members’ consent;

     b. Whether Defendants knew that they held or leased easements granting

        access only for the limited purposes of transmitting or distributing

        electricity, and whether Defendants acted with malice or reckless

        disregard for Class Members’ rights in installing the fiber-optic facilities

        and operating a commercial-communications network despite that

        knowledge;

     c. Whether Defendants made any assertions regarding their ownership

        interest or occupancy rights in Electric Easement Land, and whether

        Defendants knew those assertions to be false, or whether those assertions

        were made recklessly and without adequate investigation of their truth or

        falsity;

     d. Whether Defendants negotiated for or entered into contracts that

        purported to transfer rights of use or ownership to Electric Easement

        Land for commercial-communications purposes, and whether

        Defendants knew or should have known that any such transfer or use

        exceeded the limited scope of their easement rights;

     e. Whether Defendants received revenues from their improper use,

        occupancy, or transfer of Electric Easement Land, and the amount of

        those revenues;

     f. Whether Defendants refuse to acknowledge their lack of ownership in,

        possessory control over, or right to exercise dominion or control over




                            5
Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 5 of 16
                  Electric Easement Land beyond that necessary for the transmission or

                  distribution of electricity; and

               g. Whether any Defendant has announced plans to expand the installation

                  of fiber-optic cable on Electric Easement Land, without obtaining

                  additional easements, and whether it intends to use that cable for

                  purposes other than the transmission or distribution of electricity.

         15.    There are questions of law common to the Class, and those questions

predominate over questions affecting any individual Class Members. Common questions

of law include but are not limited to:

               a. Whether Defendants’ conduct in (1) entering onto Electric Easement

                  Land for the installation and maintenance of fiber-optic cable, (2)

                  operating a commercial-communications network through that cable,

                  and (3) failing to remove that cable from Electric Easement Land,

                  constitutes acts of trespass, which are present and continuing;

               b. Whether Defendants’ conduct common to the Class has resulted or will

                  result in Defendants being enriched at the expense of Class Members, or

                  in Defendants retaining a benefit to the detriment and loss of Class

                  Members, in frustration of the fundamental principles of justice, equity,

                  and good conscience, and thus constitutes unjust enrichment;

               c. Whether Defendants’ conduct common to the Class demonstrated

                  willfulness, malice, or recklessness, or whether Defendants proceeded

                  with conscious disregard for the rights of others, therefore entitling Class

                  Members to punitive damages;




                                  6
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 6 of 16
                 d. Whether the use of federal funds to install fiber-optic cable, without

                    permission from the Class Members, violates federal law, and whether

                    the Court should enjoin further installation funded by federal monies;

                    and

           16.    The prosecution of separate actions by individual Class Members would

create the risk of inconsistent or varying adjudications with respect to individual Class

Members, which would establish incompatible standards of conduct for Defendants, and

which would, as a practical matter, be dispositive of the interests of the other Class

Members not parties to those adjudications, substantially impairing or impeding their

ability to protect their interests.

           17.    Defendants have acted on grounds generally applicable to the Class,

thereby making appropriate declaratory relief with respect to the Class as a whole.

           18.    Named Plaintiffs may maintain a class action because questions of law

and fact common to Class Members predominate over any questions affecting only

individual Members, and a class action is a superior method for the fair and efficient

adjudication of the controversy. A class action is superior to other available methods

because:

                 a. The expense and burden of individual litigation would effectively make

                    it impracticable for individual Class Members to seek redress for the

                    wrongs alleged in this Complaint;

                 b. This action will foster an orderly and expeditious administration of Class

                    claims, economies of time, effort and expense, and uniformity of

                    decision;




                                  7
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 7 of 16
                 c. Failure to permit this matter to proceed as a class action would be

                    contrary to the public policy encouraging the economies of judicial,

                    attorney, and litigant time and resources; and

                 d. Public policy and judicial precedent favor class actions for the purpose

                    of, inter alia, deterring wrongdoing and providing judicial relief for

                    small, individual claims with a common basis.


                                             FACTS

           19.    The Biffles own eighty acres of land in Oregon County, underlying Sho-

Me Power’s electric-transmission or distribution lines. Barfield owns twenty-two acres

of land in Hickory County, underlying KAMO’s electric-transmission or distribution

lines.

           20.    Sho-Me has an easement over the Biffles’ land. KAMO has an easement

over Barfield’s land. Either by their terms or by operation of law, the easements give

Defendants only a limited to electric-utility easement or occupancy. None of the

Defendants ever held — and cannot use, lease, convey or otherwise transfer or create —

any rights in, under, over, or across Electric Easement Land for any other purpose.

           21.    Fiber-optic cable was installed alongside the electric-transmission lines on

the Biffles’ property sometime prior to January 1, 2006. Fiber-optic cable was installed

on Barfield’s property sometime before 1995. Neither the Biffles nor Barfield were

given prior notice of the installation. Defendants did not negotiate or pay for an easement

that would have permitted the installation or use of fiber-optic cable for commercial-

communications purposes.




                                     8
         Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 8 of 16
         22.   Sho-Me Tech’s website states that it “operates an advanced optical

network spanning electric transmission lines in Missouri.”

http://www.shometech.com/about/. Sho-Me Tech claims that its communications

network has “now grown to encompass over 2,000 miles of fiber optic connectivity” and

that it “boasts the highest coverage of optical bandwidth in the area.” Id. Sho-Me Tech

has also announced its intention to construct additional middle mile infrastructure for

broadband services for approximately 2,500 miles of fiber to be installed. At least some

of the fiber-optic-cable installation is being funded with federal dollars and is intended to

expand Sho-Me Tech’s broadband network. The installation is planned on Electric

Easement Land, without Sho-Me first obtaining easement rights that would support

commercial-communications or non-electric uses — a requirement of the federal funding.

         23.   Sho-Me Power, the parent of Sho-Me Tech, is a CBN member. KAMO,

the parent of K-PowerNet, is a CBN member. CBN’s website stated that it provides an

“advanced optical network spanning electric transmission lines in Oklahoma and

Missouri.” See Exhibit A. Its optical network “has now grown to encompass over 2,500

miles of fiber optic connectivity.” CBN “boasts the highest coverage of optical

bandwidth in the area.” A map of the fiber-optic network that appeared on the CBN

website is part of Exhibit A hereto.

         24.   The CBN map also shows that substantial miles are under construction in

northeastern and southeastern Missouri by one or more Defendants.

         25.   In order to complete their network, Defendants have installed or operate

fiber-optic cable on thousands of miles of Electric Easement Land that they do not own,




                                  9
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 9 of 16
and in which the only rights they have are limited easements or occupancies for electric–

transmission purposes.

         26.   On information and belief, Defendants made the business decision to

forego a time-consuming negotiation and compensation process to obtain the necessary

easement rights, and instead deliberately undertook to disregard Class Members’ property

rights and install or operate on their land a fiber-optic network for purposes other than

those permitted by the limited Electric Power Easements.

         27.   On information and belief, Defendants’ standard practice and policy has

been not to inform Class Members about the installation of fiber-optic-cable, and

Defendants have neither obtained consent from nor paid compensation to Class Members

for the unauthorized use of the Electric Easement Land.

         28.   Defendants have contracted with each other and with third parties to use

for a commercial-communications network the fiber-optic facilities installed on Electric

Easement Land.

         29. By using the fiber-optic facilities for a new commercial-communications

network, Defendants have received or expect to receive revenue from the unauthorized

and uncompensated use of Electric Easement Land. Defendants should disgorge this

revenue to Named Plaintiffs and other Class Members.

         30.   Defendants knew or should have known that they held or used easements

valid only for electric-transmission purposes, and that they had no right to use, install,

maintain, or operate fiber-optic cable on Class Members’ land for commercial-

communications purposes. Defendants acted with reckless disregard when they

undertook their fiber-optic-cable installation and operation.




                                 10
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 10 of 16
                                        COUNT I
                                 (Declaratory Judgment)

          31.   Named Plaintiffs incorporate by reference Paragraphs 1 through 30 of this

Complaint.

          32.   An actual dispute and controversy exists concerning Defendants’ right to

occupy and use Named Plaintiffs’ and the other Class Members’ Electric Easement Land

for purposes other than the transmission of electricity, i.e., for commercial-

communications purposes, without consent and without compensating them for that new

use and occupation.

          33.   Named Plaintiffs and the Class are entitled to a declaration that

Defendants have no legal right to exercise dominion and control over, or to use, Electric

Easement Land to construct and operate a fiber-optic-cable network for commercial-

communications purposes.

          34.   Named Plaintiffs and the Class are entitled to a declaration that

Defendants have no legal right or interest in the Electric Easement Land beyond an

Electric Power Easement for the limited purpose of transmitting or distributing

electricity.

        WHEREFORE, Named Plaintiffs and the other Class Members pray for

declaratory relief as set forth in the Prayer below.




                                  11
      Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 11 of 16
                                         COUNT II
                                         (Trespass)

         35.   Named Plaintiffs incorporate by reference Paragraphs 1 through 34 of this

Complaint.

         36.   Defendants’ intentional and unauthorized entry upon Named Plaintiffs’

and the other Class Members’ Electric Easement Land for construction, installation,

maintenance, lease, or other operation of a fiber-optic-cable network for commercial-

communications purposes constitutes a present and continuing trespass.

         37.   As a direct and proximate result of Defendants’ trespass upon and

commercial occupation and use of the Electric Easement Land, Defendants have received

and continue to receive substantial revenues.

         38.   Named Plaintiffs and the other Class Members have suffered, in amounts

to be proven at trial, as damages from Defendants’ trespass.

         39.   Named Plaintiffs and the other Class Members are entitled to all damages

proximately caused by Defendants’ trespass, including the reasonable value of the use of

the land for Defendants’ commercial-communications purposes, or, at Named Plaintiffs’

election, all revenues arising from Defendants’ trespass or title to the fiber-optic cable

and related equipment.

       WHEREFORE, Named Plaintiffs and the other Class Members pray for damages

and other relief as set forth in the Prayer below.


                                       COUNT III
                                   (Unjust Enrichment)

         40.   Named Plaintiffs incorporate by reference Paragraphs 1 through 39 of this

Complaint.



                                 12
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 12 of 16
         41.    As a direct and proximate result of Defendants’ intentional and unlawful

use and occupation their land, Named Plaintiffs and the other Class Members have been

deprived of the rents, profits, and other benefits arising from Defendants’ commercial use

and occupation of Electric Easement Land for purposes other than the transmission of

electricity. Defendants have been unjustly enriched by their wrongful receipt and

retention of rents, profits, and other benefits owed to Named Plaintiffs and the other Class

Members and, in equity, Defendants should not be allowed to retain those rents, profits,

and benefits.

         42.    Named Plaintiffs and the other Class Members are entitled to a judgment

requiring Defendants to disgorge all sums they have received as rents, profits, and other

benefits arising from their unlawful commercial use and occupation of Electric Easement

Land for purposes other than transmitting or distributing electricity.


                                       COUNT IV
                                    (Injunctive Relief)

         43.    Named Plaintiffs incorporate by reference paragraphs 1 through 42 of this

Complaint.

         44.    Sho-Me has been awarded at least $26.6 million in federal funds with

which to construct an expanded fiber-optic communications network in Missouri. The

federal grant requires Sho-Me to furnish satisfactory evidence that it has the necessary

easements over the property on which its network is to be constructed. Sho-Me cannot

lawfully use its existing easements, and it cannot obtain the necessary easements without

adequately compensating the Class Members.




                                 13
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 13 of 16
          45.   Sho-Me has shown no intention of adequately compensating the Class

Members for taking interests in their land. Without an injunction, the Missouri

Landowner Class will be irreparably injured and has no adequate remedy at law.


                                 PUNITIVE DAMAGES

          46.   Named Plaintiffs incorporate by reference Paragraphs 1 through 45 of this

Complaint.

          47. The wrong done to Named Plaintiffs and the other Class Members by

Defendants was attended by fraudulent, malicious, intentional, willful, wanton, or

reckless conduct, which evidenced a conscious disregard for Named Plaintiffs’ and the

other Class Members’ rights. Named Plaintiffs, on behalf of the Class, therefore seek

punitive damages in an amount to be proven at trial.


                                         PRAYER

        WHEREFORE, Named Plaintiffs on behalf of themselves and the members of the

Missouri Landowner Class pray that the Court certify this matter as a class action and

grant relief as follows:

          1.    Certify a Class as defined in Paragraph 10 herein;

          2.    Declare that Defendants did not obtain any title or interest or right to

occupy or use Electric Easement Land other than for electric-transmission purposes;

          3.    Declare that Defendants’ occupation or use of Electric Easement Land for

a commercial-communications network is a trespass;

          4.    Direct Defendants to render a just and full accounting of all sums received

as a result of their trespass;




                                 14
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 14 of 16
            5.    Award Class Members damages against all Defendants, jointly and

severally, in the amount of the reasonable value of Defendants’ improper use of Electric

Easement Land, or at Named Plaintiffs’ election, all revenues arising from Defendants’

trespass;

            6.    Hold that the doctrine of unjust enrichment applies and order Defendants

to pay to Class Members all sums received by Defendants flowing from the unlawful or

improper use of Electric Easement Land;

            7.    Award Plaintiffs an injunction as prayed for herein;

            8.    Award Plaintiffs their costs and expenses incurred in this action, including

attorneys’ fees, and award pre-judgment and post-judgment interest;

            9.    Award Plaintiffs punitive damages; and

            10.   Grant such other relief as the Court deems just and appropriate.


                                       JURY DEMAND

       Named Plaintiffs demand a jury trial as to all issues so triable.

Dated: November 29, 2011

                                        __/s/Heidi Doerhoff Vollet___________________
                                        Dale C. Doerhoff                   #22075
                                        Heidi Doerhoff Vollet              #49664
                                        COOK, VETTER, DOERHOFF &
                                                LANDWEHR, P.C.
                                        231 Madison Street
                                        Jefferson City, MO 65101
                                        (573) 635-7977; (573) 635-7414 – facsimile
                                        E-mail: ddoerhoff@cvdl.net
                                                hdoerhoff@cvdl.net

                                        Attorneys for Plaintiffs




                                 15
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 15 of 16
Of Counsel

Henry J. Price
Ronald J. Waicukauski
Carol Nemeth Joven
Price Waicukauski & Riley, LLC
301 Massachusetts Avenue
Indianapolis, IN 46204
Tel: (317) 633-8787
Fax: (317) 633-8797

Nels Ackerson
Kathleen C. Kauffman
Ackerson Kauffman Fex, P.C.
1701 K Street, N.W.
Suite 1050
Washington, DC 20006
Tel: (202) 833-8833
Fax: (202) 833-8831

Andrew W. Cohen
Koonz, McKenney, Johnson,
 DePaolis & Lightfoot, L.L.P.
2001 Pennsylvania Avenue, N.W.
Suite 450
Washington, DC 20006
Tel: (202) 659-5500
Fax: (202) 785-3719

Fred O’Neill MO Bar 42683
Route # 1 Box 116A
Myrtle, MO 65778
(Tel): (417) 938-4457 or (417) 778-7616
(Fax): (417) 778-7615




                                 16
     Case 2:11-cv-04321-NKL Document 1 Filed 11/29/11 Page 16 of 16
